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                                                      October 7, 2019

Via ECF and First-Class Mail
The Honorable Eric N. Vitaliano
United States District Judge for the
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:     Riley v. Tastee Pattee, LTD. et al., 18-cv-05562-ENV-ST

Dear Judge Vitaliano:

         As the Court knows, we represent Plaintiffs Horace Riley and Patrick Balfour in the above-
referenced action arising under the Fair Labor Standards Act (“FLSA”) and the New York Labor
Law (“NYLL”) against Defendants Tastee Pattee, LTD, Thomas Patterson Corp., Pattie Hut B
Inc., and Pattie Hut Inc., (together as “the Pattee Defendants”), as well as Christopher Thomas,
individually, and Richard Patterson, as administrator of the Estate of Michael A. Patterson,
individually (hereinafter, as “Patterson”) (all, collectively, as “Defendants”). We write to oppose
Defendants’ September 30, 2019 pre-motion conference request (ECF # 45), seeking permission
to file their motion to dismiss the claims brought against Tastee Pattee, Ltd., Pattie Hut B Inc.,
Pattie Hut Inc., and Patterson (hereinafter “the Moving Defendants”). 1 The Moving Defendants
seek leave to move to dismiss Plaintiffs’ Amended Complaint for two reasons. First, they claim,
Plaintiffs failed to adequately allege that the Pattee Defendants were part of a single enterprise to
jointly employ them. Second, they claim that the Amended Complaint fails to adequately plead
that Patterson was one of Plaintiffs’ individual employers under the FLSA and the NYLL. Both
of Defendants’ arguments fail, as Plaintiffs’ Amended Complaint more than easily meets Rule 8’s
“facial plausibility” standard, Aschroft v. Iqbal, 556 U.S. 662, 678 (2009), to “give the defendant
fair notice of what . . . the claim is and the grounds upon which it rests.” Erickson v. Pardus 551
U.S. 89, 93 (2007). The Amended Complaint plausibly alleges that the Pattee Defendants were
engage in related activities through a unified operation or common control for a common business
purpose, with Defendant Patterson exhibiting operational and direct control, alongside Defendant
Thomas, while he operated the Pattee Defendants.

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 The remaining Defendants filed their answer to the Amended Complaint on September 30, 2019. ECF #
46.
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        First, multiple, nominally distinct entities may constitute a “single enterprise under the
FLSA for purpose of establishing FLSA ‘enterprise coverage.’” Chuchuca v. Creative Customs
Cabinets, Inc., 2014 WL 6674583, at *6 (E.D.N.Y. Nov. 25, 2014) (quoting Berrezueta v. Royal
Crown Pastry Shop, Inc., 2014 WL 3734489, at *4-7 (E.D.N.Y. July 28, 2014)); see also Loo v.
I.M.E. Rest., Inc., 2018 WL 4119234, at *4 (E.D.N.Y. Aug. 29, 2018) (quoting Irizarry v.
Catsimatidis, 722 F.3d 99, 110 (2d Cir. 2013)). Courts use a three-part test to determine whether
distinct entities constitute a “single enterprise” for purposes of FLSA coverage, analyzing whether
they: (1) engage in related activities; (2) operate through a unified operation or common control;
and (3) operate for a common business purpose. Chuchuca, 2014 WL 6674583, at *8 (citing
Berrezueta, 2014 WL 3734489, at *4). Entities engage in “related activities” when “they are the
same or similar, such as those of the individual retail or service stores in a chain.” Bowrin v.
Catholic Guardian Soc., 417 F. Supp. 2d 449, 458 (S.D.N.Y. 2006) (citing 29 C.F.R. §
779.206(a)). Where different nominal entities are involved, “the critical inquiry is ‘operational
interdependence in fact.’” Id. (quoting Dole v. Odd Fellows Home Endowment Bd., 912 F.2d 689,
692 (4th Cir. 1990)). Moreover, “[t]he provision of ‘mutually supportive services to the substantial
advantage of each entity’” demonstrates that they “‘are operationally interdependent and may be
treated as a single enterprise under the Act.’” Id. (quoting Archie v. Grand Cent. P’Ship, Inc., 997
F.Supp. 504, 525 (S.D.N.Y. 1998) (Sotomayor, J.)).

        As the FLSA’s regulations explain, “unified operation or common control do not have a
fixed legal or technical definition.” 29 C.F.R. § 779.216. “Unified operation” means combining,
uniting, or organizing [related activities’] performance so that they are in effect a single business
unit or an organized business system . . . .” 29 C.F.R. § 779.217. Further, “control” includes the
power to direct, restrict, regulate, govern, or administer the performance of the activities. 29 C.F.R.
§ 779.221. “Common control” includes the sharing of control and it is not limited to sole control
or complete control by one person or corporation. Id.

        Here, Plaintiff has alleged sufficient facts to plausibly plead a single enterprise among the
Pattee Defendants so as to hold them all liable. First, Plaintiff alleges that the separate corporate
Defendants function as different store fronts in a single chain of Jamaican food restaurants, all
jointly owned and operated by the two individual Defendants. See, e.g., Am. Comp., ECF # 31, ¶¶
2, 17, 33-36. This included alleging that both individual Defendants jointly “owned and operated”
the various locations; “shared and share employees across locations” including Plaintiff; and “use
the same vendors to purchase goods and supplies for the different locations / entities.” Id. ¶ 33.
The Amended Complaint alleges these specific facts to easily move them beyond what Defendants
describe as “conclusory, threadbare, and speculative allegations.” See ECF # 45 at 2. In contrast,
these allegations - - taken as true at this stage - - are more than enough to establish a single
integrated enterprise under the FLSA. The “common control” of the two individual Defendants
across the corporate Defendants’ storefront locations is consistent with a “single business unit or



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an organized business system,” precisely within the definitions of the FLSA’s regulations at issue
here.

        Turning to the second prong of Defendants’ pre-motion request, in addition to formal
business entities, individual (natural) persons are considered “employers” under the FLSA and the
NYLL when they exhibit either “operational control” or “direct control” over the plaintiff-
employee’s relationship with any specific entity or entities. Loo, 2018 WL 4119234, at *4-5 (citing
Irizarry, 722 F.3d at 104). “Operational control” is demonstrated where an individual defendant
exhibits “authority over management, supervision, and oversight of [the corporate defendant’s]
affairs in general.” Id. (citing Irizarry, 722 F.3d at 110) (emphasis added). In contrast to the
“general” analysis of “operational control,” “direct control” focuses on whether the individual
defendant: (1) had the power to hire and fire the employees; (2) supervised and controlled
employee work schedules or conditions of employment; (3) determined the rate and method of
payment; and (4) was responsible for maintaining employment records. Id. (citing Carter, 735
F.2d at 12). At bottom, “[n]o individual circumstance is dispositive to the question of whether an
individual is an employer, and courts have concluded that an individual defendant qualifies as an
‘employer’ even when several of the Carter factors do not apply in a specific case.” Id. (emphasis
added).

        Once again, Plaintiff’s Amended Complaint plausibly alleges individual liability as to
Patterson (and his estate, as successor). Specifically, Plaintiff alleges that both individuals - -
including Patterson - - “managed” and “concurrently control[led] labor relations” and commonly
owned and controlled all entities. Am. Compl., ECF # 31, ¶¶ 33-34. And leaving little doubt,
Plaintiff’s Amended Complaint specifically alleges that - - along with Christopher Thomas - -
Patterson was “jointly responsible for overseeing the daily operations of all locations of the Pattee
Defendants, as well as managing all of its employees, including Plaintiff, including with respect
to determining employees’ rates and methods of pay and hours work . . . .” Id., ¶ 14. These
allegations more than plausibly allege both “operational” and “direct” control with respect to
Defendant Patterson’s role among the Pattee Defendants, guaranteeing a swift denial of
Defendants’ motion aimed squarely at the sufficiency of the pleadings.

       We thank the Court for its time and attention to this matter.

                                                      Respectfully Submitted,


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                                                      Michael R. Minkoff, Esq.

To: All Parties via ECF


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